Electronic Case Filing | U.S. District Court - Middle District of Florida               Page 1 of 3
             Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 1 of 15


                                                                                BOND, CLOSED

                           U.S. District Court
                   Middle District of Florida (Orlando)
       CRIMINAL DOCKET FOR CASE #: 6:21-mj-01015-EJK All Defendants


Case title: USA v. Williams                               Date Filed: 01/12/2021
                                                          Date Terminated: 01/12/2021

Assigned to: Magistrate Judge Embry J.
Kidd

Defendant (1)
Andrew Williams                             represented by Vincent Albert Citro
TERMINATED: 01/12/2021                                     Law Offices of Mark L. Horwitz, PA
                                                           17 E Pine St
                                                           Orlando, FL 32801
                                                           407/843-7733
                                                           Fax: 407/859-1321
                                                           Email: vince@horwitzcitrolaw.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Retained

Pending Counts                                             Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                          Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                 Disposition
18:1752 Unlawful Entry of a Restricted
Building; 40:5104 Disorderly Conduct
on Capitol Grounds


Plaintiff




https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?109617215239679-L_1_0-1                  1/14/2021
Electronic Case Filing | U.S. District Court - Middle District of Florida                    Page 2 of 3
             Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 2 of 15


USA                                           represented by Karen L. Gable
                                                             US Attorney's Office - FLM*
                                                             Suite 3100
                                                             400 W Washington St
                                                             Orlando, FL 32801
                                                             407/648-7500
                                                             Email: karen.gable@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained


 Date Filed      # Docket Text
 01/12/2021     1 Arrest pursuant to Rule 5(c)(2) of Andrew Williams from the District of
                  Columbia. (PML) (Entered: 01/12/2021)
 01/12/2021     2 Minute Entry for In Person proceedings held before Magistrate Judge Embry J.
                  Kidd: INITIAL APPEARANCE in Rule 5(c)(3) proceedings held on 1/12/2021
                  as to Andrew Williams from the District of Columbia. (Digital) (PML) (Entered:
                  01/12/2021)
 01/12/2021     3 WAIVER of Rule 5 & 5.1 Hearings by Andrew Williams. (PML) (Entered:
                  01/12/2021)
 01/12/2021     4 APPEARANCE BOND (Unsecured) entered as to Andrew Williams in amount
                  of $25,000.00. (PML) (Entered: 01/12/2021)
 01/12/2021     5 ORDER Setting Conditions of Release as to Andrew Williams (1) $25,000
                  Appearance Bond (Unsecured) with additonal conditions. Signed by
                  Magistrate Judge Embry J. Kidd on 1/12/2021. (PML) ctp (Entered:
                  01/12/2021)
 01/12/2021     6 ORDER OF REMOVAL pursuant to Rule 5(c)(3) to the District of
                  Columbia as to Andrew Williams. Signed by Magistrate Judge Embry J.
                  Kidd on 1/12/2021. (PML) (Entered: 01/12/2021)
 01/12/2021         NOTICE to District of Columbia of a Rule 5 or Rule 32 Initial Appearance as to
                    Andrew Williams regarding your case number: 1:21-mj-30. Using your PACER
                    account, you may retrieve the docket sheet and any documents via the case
                    number link. No documents/record will be sent. If you require certified copies of
                    any documents please send a request to
                    InterdistrictTransfer_FLMD@flmd.uscourts.gov. If you wish the court to use a
                    different email address in the future, please send a request to update your address
                    to InterdistrictTransfer_TXND@txnd.uscourts.gov. (PML) (Entered:
                    01/12/2021)
 01/13/2021     7 ORDER as to Andrew Williams: Pursuant to the Due Process Protections
                  Act, the Court confirms the United States' obligation to produce all
                  exculpatory evidence to the defendant pursuant to Brady v. Maryland, 373
                  U.S. 83 (1963), and its progeny and orders the United States to do so. Failing
                  to do so in a timely manner may result in consequences, including exclusion
                  of evidence, adverse jury instructions, dismissal of charges, contempt




https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?109617215239679-L_1_0-1                       1/14/2021
Electronic Case Filing | U.S. District Court - Middle District of Florida              Page 3 of 3
             Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 3 of 15


                    proceedings, and sanctions. Signed by Judge Timothy J. Corrigan on
                    12/1/2020. (PML) (Entered: 01/13/2021)



                                       PACER Service Center
                                         Transaction Receipt
                                            01/14/2021 14:17:31
                    PACER
                                   BrittanyBryant:6635828:0 Client Code:
                    Login:
                                                           Search          6:21-mj-
                    Description:   Docket Report
                                                           Criteria:       01015-EJK
                    Billable
                                   2                       Cost:           0.20
                    Pages:
                                                           Exempt
                    Exempt flag: Exempt                                    Always
                                                           reason:


PACER fee: Exempt




https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?109617215239679-L_1_0-1                 1/14/2021
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 4 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 5 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 6 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 7 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 8 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 9 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 10 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 11 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 12 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 13 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 14 of 15
Case 1:21-cr-00045-DLF Document 8 Filed 01/12/21 Page 15 of 15




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                                 CASE NO: 6:21-mj-1015-EJK

ANDREW WILLIAMS


                 FINDINGS AND ORDER ON REMOVAL PROCEEDINGS
                      PURSUANT TO RULE 5(C), FED.R.CRIM.P.
        Andrew Williams, having been arrested and presented before me for removal proceedings pursuant

to Rule 5(c), Federal Rules of Criminal Procedure, and having been informed of the rights specified in Rule

5(d) thereof, and of the provisions of Rule 20, the following has occurred of record.

        An Initial Appearance on the Rule 5(c) Complaint from District of Columbia was held
        on January 12, 2021.

        After hearing the evidence, and based on the defendant's waiver of identity hearing, I
        find that ANDREW WILLIAMS is the person named in the warrant for arrest, a copy
        of which has been produced.

        It is, therefore,

        ORDERED that ANDREW WILLIAMS answer in the district court in which the prosecution is

pending.

        DONE and ORDERED in Chambers in Orlando, Florida on January 12, 2021 .
